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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  AT ASHLAND

CRIMINAL ACTION NO. 09-13-DLB-4

UNITED STATES OF AMERICA                                                      PLAINTIFF


vs.             ORDER ADOPTING REPORT & RECOMMENDATION


KERRY LEE BLEVINS                                                           DEFENDANT

                                  *** *** *** *** ***

       This matter is before the Court upon the September 19, 2012 Report and

Recommendation (“R&R”) of the United States Magistrate Judge wherein he recommends

that the Court revoke Defendant Blevins’ supervised release and impose a sentence of

eleven (11) months incarceration, with no supervised release to follow. (Doc. # 187).

During the final revocation hearing conducted by Magistrate Judge Atkins on September

18, 2012, Defendant stipulated to two (2) violations of Supervised Release Condition # 2,

one (1) violation of Standard Condition # 4, and one (1) violation of Standard Condition #

7 as set forth in the November 20, 2011 violation report of United States Probation Officer

Michael D. Jones. (Doc. # 187). The United States moved to dismiss the violation of

Special Condition D, and the Magistrate Judge recommended that the government’s motion

be granted. (Id.).

       Defendant having executed a waiver of his right to allocution (Doc. # 186), there

being no objections filed to the Magistrate Judge’s R&R, and the time to do so having now

expired, the R&R is ripe for the Court’s consideration. Having reviewed the R&R, and the


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Court concluding that the R&R is sound in all respects, including the recommended

sentence and the basis for said recommendation, and the Court being otherwise sufficiently

advised,

       IT IS ORDERED as follows:

       1.     The Report and Recommendation (Doc. # 187) is hereby ADOPTED as the

findings of fact and conclusions of law of the Court;

       2.     Defendant is found to have VIOLATED the terms of his supervised release;

       3.     Defendant’s supervised release is hereby REVOKED;

       4.     Defendant shall serve ELEVEN (11) MONTHS IMPRISONMENT, with no

supervised release to follow; and

       5.     A Judgment shall be entered contemporaneously herewith.

       This 12th day of October, 2012.




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